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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF WASHINGTON


                                                   )
UNITED STATES OF AMERICA                           )
                                                   )
and                                                )
                                                   )
THE STATE OF WASHINGTON,                           )
                                                   )
                      Plaintiffs,                  )
                                                   )      Civil Action No. 2:13-cv-677
              v.                                   )
                                                   )
KING COUNTY, WASHINGTON,                           )
                                                   )
                      Defendant.                   )
                                                   )

             FIRST MATERIAL MODIFICATION TO CONSENT DECREE

       WHEREAS, the United States of America (“United States”), the State of Washington (“the

State”), and King County, Washington (“the County”) are Parties to the Consent Decree entered

by this Court on July 3, 2013 (ECF No. 6);

       WHEREAS, the Parties entered into a Non-Material Modification to the Consent Decree

on October 25, 2016, and filed such with the Court, authorizing the County to select a joint

combined sewer overflow (“CSO”) project with the City of Seattle (“the City”) to control two of

the County’s outfalls (ECF No. 7);

       WHEREAS, the County has completed construction of ten of the seventeen CSO Control

Measures required by the Consent Decree and has commenced construction of two of the

remaining CSO Control Measures;

       WHEREAS, on October 28, 2019, the County formally requested that the U.S.

Environmental Protection Agency (“EPA”) and the Washington Department of Ecology




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(“Ecology”) agree to modify the Consent Decree because of unexpected increases in CSO volumes

requiring control and unexpected planning and implementation challenges due, in part, to climate

change and variability of location, duration, and intensity of weather events;

       WHEREAS, EPA and Ecology agreed to entertain specific modification requests from the

County, and the Parties began informal negotiations to clarify the scope and content of potential

modifications;

       WHERAS, the Parties continued informal negotiations for several years until EPA and

Ecology requested additional supporting documentation on March 15, 2022;

       WHEREAS, on November 18, 2022, the County submitted its specific modification

requests and supporting documentation.       The County sought Material Modifications to the

descriptions, design criteria, and critical milestone dates of five CSO Control Measures detailed in

Appendix B due to significantly greater CSO volumes requiring control than the Parties anticipated

when they entered into the Consent Decree. These modifications clarify certain terms and allow

for adaptive management of planned CSO Control Measures due, in part, to the impact of climate

change and variability of weather events, and in particular, the need to manage larger volumes of

stormwater run-off than anticipated;

       WHEREAS, the Parties resumed negotiations to reach agreement on modifications to the

Consent Decree based on the County’s request;

       WHEREAS, the Parties entered into a second Non-Material Modification to the Consent

Decree on May 9, 2023, not filed with the Court, authorizing the County to provide notifications,

submissions, or other communications required by the Consent Decree by email or mail, with a

preference for email;




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       WHEREAS, the Parties have agreed, pursuant to Paragraph 104 of the Consent Decree, to

the material modifications to the Consent Decree detailed herein;

       WHEREAS, this First Material Modification made herein constitutes a material change to

the Consent Decree, requiring Court approval under Paragraph 104 of the Consent Decree; and

       WHEREAS, the Parties recognize, and the Court by entering this First Material

Modification finds, that this Modification has been negotiated by the Parties in good faith and that

this Modification is fair, reasonable, and in the public interest.

       NOW THEREFORE, with the consent of the Parties, IT IS HEREBY ADJUDGED,

ORDERED, AND DECREED as follows:

       1.      Except as specifically modified herein, all provisions of the Consent Decree entered

by this Court on July 3, 2013 (ECF No. 6) shall remain unchanged and in full force and effect.

       2.      The deadline to obtain Construction Completion of all CSO Control Measures shall

be modified to December 31, 2037.

       3.      Paragraph 9(w) shall be replaced with the following:

               “Performance Criteria” shall mean either, (a) for CSO Outfalls, achieving
               Controlled status for each CSO Outfall; or (b) for CSO treatment plants, meeting
               all NPDES Permit requirements and State water quality standards.




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4.    Paragraph 9(dd) shall be replaced with the following:

      dd)     “Twenty-Year Moving Average” or “20-Year Moving Average” shall mean
      the average number of untreated discharge events per CSO Outfall over a twenty-
      year period and is the averaging period used to assess compliance with the State’s
      CSO “control” standard of “greatest reasonable reduction” defined in WAC 173-
      245-020(22). The Twenty-Year Moving Average will be calculated at least
      annually and reported in the County’s Annual Report. The number of discharge
      events per year shall be based on representative monitoring records. For years
      where monitored data do not exist (e.g., during CSO control project design) or are
      not representative (e.g., due to the completion of CSO reduction projects; non-
      capital modifications; operational adjustments), the number of discharge events per
      year shall use the predicted discharge frequency as calculated through modeling.
      The model for each CSO Outfall shall be established by the LTCP or approved
      engineering report for CSO control project design and be based on historical rainfall
      data, hydraulic information (including climate change projections), and the control
      project design expected efficacy.
5.    The following definition shall be added as new Paragraph 9(gg):

      gg)     “Optimization” shall mean the application of adjustable controls,
      operational improvements, or capacity modifications to achieve improved flow
      management with limited capital modifications to the system. Examples include
      but are not limited to: installing or adjusting controls for gates or pump stations;
      using additional monitoring locations to refine control settings; modifying weir
      elevations; and adding conveyance capacity to resolve a localized capacity
      limitation. The primary objective is to maximize the use of available storage and
      conveyance capacities more rapidly and effectively than typical capital projects.

6.    Paragraph 15 shall be replaced with the following:

      15.    King County shall construct and implement the CSO Control Measures in
      accordance with the Performance Criteria and the descriptions, Design Criteria, and
      the dates for submission of engineering reports, Completion of Bidding, and
      Construction Completion for each CSO Control Measure as set forth in Appendix
      B.




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7.    Paragraph 17 shall be replaced with the following:

      17.     After two complete wet seasons (each spanning the period October 1 – April
      30) following Construction Completion of each CSO Control Measure identified in
      Appendix B that are associated with CSO Outfalls numbers 028, 029, 030, 032,
      036, 039, and 041 at the County’s new satellite CSO treatment plants, the County
      shall document, in its Annual Report submitted pursuant to Section VIII, whether
      these CSO satellite treatment plants and associated CSO Outfalls meet the effluent
      limits in the County’s NPDES Permit and State water quality standards. The first
      complete wet season shall begin October 1 after Construction Completion. If one
      of these new satellite CSO treatment plants and associated CSO Outfalls does not
      meet the effluent limits in the County’s NPDES Permit or State water quality
      standards within this timeframe, the County shall submit to EPA and the State for
      their approval a Supplemental Compliance Plan as set forth in Paragraph 20 below.
      This Supplemental Compliance Plan shall be submitted not later than January 30 of
      the year following the year in which the second wet season concludes.

8.    Paragraph 18 shall be replaced with the following:

      18.     After two complete wet seasons (each spanning the period October 1 – April
      30) following Construction Completion of each CSO Control Measure identified in
      Appendix B that addresses all remaining CSO Outfalls other than CSO Outfalls
      numbers 028, 029, 030, 032, 036, 039, and 041, the County shall document, in its
      Annual Report submitted pursuant to Section VIII, whether these CSO Outfalls are
      Controlled. The first complete wet season shall begin October 1 after Construction
      Completion. If one of these CSO Outfalls is not Controlled within this timeframe,
      the County shall submit to EPA and the State for their approval a Supplemental
      Compliance Plan as set forth in Paragraph 20 below. This Supplemental
      Compliance Plan shall be submitted not later than January 30 of the year following
      the year in which the second wet season concludes.

9.    Paragraph 20 shall be modified to add the following to the end of the paragraph:

      CSO Outfall Corrective Actions Report(s) submitted in accordance with NPDES
      Waste Discharge Permit No. WA0029181 shall satisfy the requirements for the
      Supplemental Compliance Plan described in this Paragraph.

10.   Paragraph 21 shall be replaced with the following:

      21.    Proposed Revisions to CSO Control Measures and Design Criteria: The
      County may propose a revision to a CSO Control Measure, or to the Design Criteria
      for a CSO Control Measure, for a CSO control project listed in Appendix B by
      submitting a proposal to EPA and Ecology for review and approval (in accordance
      with the review procedures detailed within Section VI) by no later than the date of
      submission of the engineering report for the subject CSO control project.




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            (a)    Any request by the County for proposed modification of a CSO
            Control Measure or Design Criteria made pursuant to this Paragraph shall
            be made in writing to EPA and the State pursuant to Paragraph 85, with all
            documentation necessary to support the request for proposed modification,
            including all information relevant to the five criteria set forth below. The
            County shall provide such additional information requested by the United
            States or the State as is necessary to assist in evaluating the County’s
            modification request. Any such proposal shall also include:

                   (i)    Detailed project information, such as the size and length of
                   new sewer lines, sewer infrastructure rehabilitation, inflow source
                   reduction or storage capacity; the volume of storage, or scope of
                   sewer separation activities; and the anticipated discharge volume
                   reduction;

                   (ii)    An implementation schedule for completion of the revised
                   and/or alternative CSO Control Measure, or for the CSO Control
                   Measure with revised and/or alternative Design Criteria, by the same
                   Construction Completion date for the CSO Control Measure set
                   forth in Appendix B;

                   (iii) A demonstration that the revised and/or alternative CSO
                   Control Measure or Design Criteria will meet or exceed the
                   Performance Criteria;

                   (iv)    A description of the public engagement process concerning
                   the revised and/or alternative CSO Control Measure or Design
                   Criteria; and

                   (v)    A demonstration that the proposed revision of or change in
                   CSO Control Measure or Design Criteria will not cause any adverse
                   impacts to sensitive water bodies or beneficial uses of affected
                   waters, or any disproportionate impact on any one or more
                   geographic areas.

            (b)     EPA and State approval of proposed revised and/or alternative CSO
            Control Measures or Design Criteria consistent with subparagraph (a) above
            shall be considered a non-material modification for the purposes of Section
            XIX of this Consent Decree; provided, however, that, if EPA and the State
            approve a change to the type of CSO Control Measure that is not already
            included as an option for that CSO control project in Appendix B (e.g.,
            using treatment instead of storage when treatment is not listed as an option
            in Appendix B), this shall be considered a material modification and shall
            not be effective until it is approved by the Court in accordance with
            Paragraph 104 of this Consent Decree. Any such proposed material
            modification of this Consent Decree shall, furthermore, be subject to public
            notice and comment pursuant to 28 C.F.R. § 50.7. The United States and


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                      the State reserve their rights to withdraw or withhold their consent to any
                      such proposed modification of this Consent Decree if public comments
                      received disclose facts or considerations that indicate that the modification
                      would be inappropriate, improper, or inadequate.

                      (c)    If EPA and the State disapprove the County’s proposed
                      modification, the County may invoke Informal Dispute Resolution in
                      accordance with Paragraph 78. The Formal Dispute Resolution and judicial
                      review procedure set forth in Paragraphs 79 to 83 shall not apply to
                      proposals for modification of CSO Control Measures or Design Criteria
                      submitted pursuant to this Paragraph.

                              (i)     If the dispute is not resolved by Informal Dispute Resolution,
                              then the position advanced by the United States shall be considered
                              binding; provided that the County may, within thirty (30) days after
                              the conclusion of the Informal Dispute Resolution Period, appeal the
                              decision to the Director of the Enforcement and Compliance
                              Assurance Division, EPA Region 10.

                              (ii)     The Director of the Enforcement and Compliance Assurance
                              Division, EPA Region 10 may approve or disapprove, or approve
                              upon conditions or in a revised form, the proposed modification.
                              The determination of the Director shall be in her/his discretion and
                              shall be final. The County reserves the right to file a motion seeking
                              relief in accordance with Federal Rule of Civil Procedure 60(b).

       11.     In Paragraph 33, the period for the County, in coordination with the City of Seattle,

to review the Joint Plan shall be modified from every three years to every five years. Furthermore,

Paragraph 33 shall be modified to add the following to the end of the paragraph:

               The County and the City shall engage in a Coordinated Optimization Evaluation
               (“COE”) as part of the next update of the Joint Plan. The COE is a significant effort
               that will identify and evaluate optimization opportunities that reduce CSOs by
               taking advantage of potential capacities through improving system-wide or basin
               specific controls and/or by installing new minor system components. The COE will
               also inform development of the County’s and City’s Long Term Control Plan
               Updates and project engineering reports.




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       12.    Paragraph 43(a) shall add the following as new item (v) in the list of the items to

be included in the County’s Annual Report:

              (v) the Twenty-Year Moving Average for each CSO Outfall, as required by
              Paragraph 9(dd).

       13.    Paragraph 58 shall be replaced with the following:

              58.     Failure to Comply with Effluent Limits. The following stipulated penalties
              shall accrue for each failure to comply with the following numerical effluent limits
              imposed by the County’s NPDES permit for CSO Outfalls # 027b (Elliott West
              CSO Treatment Plant), 044 (MLK/Henderson CSO Treatment Plant), 046 (Carkeek
              CSO Treatment Plant), 051 (Alki CSO Treatment Plant, excluding CSO Outfall
              #001 for the West Point Wastewater Treatment Plant), 058 (Georgetown CSO
              Treatment Plant), and any future CSO treatment plant constructed to control
              outfalls included in Appendix B and subject to numeric effluent limits:

              Parameter                                               Stipulated Penalty
              Total Suspended Solids removal efficiency               $10,000 per annum
              Fecal Coliform geometric mean                           $2,000 per month
              Settleable Solids (annual average)                      $10,000 per annum
              Total Residual Chlorine (maximum daily)                 $2,000 per day
              Other annual numeric effluent limits                    $10,000 per annum per limit
              Other non-annual numeric effluent limits                $2,000 per violation per day


       14.    In Paragraph 117, the description of Appendix D shall be modified to the following:

              “Appendix D” is the Joint Operations and System Optimization Plan and
              Coordinated Optimization Evaluation Between the City of Seattle and King
              County;

       15.    The “Status” column in Appendix A shall be changed to “2012 Status.” The

following language shall be added to the footnote to “2012 Status”:

              Outfall control status is reported annually in the County’s CSO Annual Report.




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              16.   Appendix B shall be replaced with the following:

             APPENDIX B: CSO Control Measures, Design Criteria, and Critical Milestones

CSO Control         CSO Control         Design Criteria                 Critical Milestones 1, 3
Project and         Measure(s)
Discharge Serial
Number (DSN)

Hanford #1          Increased           0.34 MG of peak CSO storage     • Submission of Engineering Report
                    Conveyance and      with conveyance                   by December 31, 2014 [Completed]
(DSN 031)           Storage Tank                                        • Completion of Bidding by
                                                                          December 31, 2016 [Completed]
                                                                        • Construction Completion by
                                                                          December 31, 2019 [Completed]

Brandon St./        CSO Treatment and 66 MGD of peak CSO                • Submission of Engineering Report
S. Michigan St.     Conveyance        treatment and new conveyance        by December 31, 2015 [Completed]
                                      system                            • Completion of Bidding by
(DSN 041/ 039)                                                            December 31, 2017 [Completed]
                                                                        • Construction Completion by
                                                                          December 31, 2022 [Completed]

3rd Avenue West     Joint City-County   29 MG tunnel, of which 4.18     • Construction Completion by
                    Storage Tunnel      MG of peak CSO storage            December 31, 2027
(DSN 008)                               attributable to County’s 3rd
                                        Avenue West site

11th Ave. NW        Joint City-County   29 MG tunnel of which 1.85      • Construction Completion by
                    Storage Tunnel      MG of peak CSO storage            December 31, 2027
(DSN 004)                               attributable to County’s 11th
                                        Avenue NW site

W. Michigan St./    Storage Tank        1.25 MG of peak CSO storage     • Submission of Engineering Report
Terminal 115                                                              by December 31, 2020 [Completed]
                                                                        • Completion of Bidding by
(DSN 042/ 038)                                                            December 31, 2026
                                                                        • Construction Completion by
                                                                          December 31, 2029




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CSO Control        CSO Control           Design Criteria                  Critical Milestones 1, 3
Project and        Measure(s)
Discharge Serial
Number (DSN)

Mouth of           CSO Treatment         190 MGD of peak CSO              • Submission of Engineering Report
Duwamish CSO                             treatment and modifications to     by December 31, 2026
Control Project                          existing conveyance system       • Completion of Bidding2 by
                                                                            July 31, 2029
(DSN 036/ 032/     or                    or                               • Construction Completion by
030/ 029/ 028)                                                              December 31, 2034
                   CSO Storage and       6 MG of peak CSO storage and
                   CSO Treatment         170 MGD of peak CSO
                                         treatment and modifications to
                                         existing conveyance system

                   or                    or

                   CSO Storage           150 MG of peak CSO storage
                   Facility

University         Storage Facility      16.1 MG of peak CSO storage      • Submission of Engineering Report
                                                                            by December 31, 2029
(DSN 015)          or                    or                               • Completion of Bidding2 by
                                                                            December 31, 2032
                   Storage Facility to   24 MG of peak CSO storage
                   manage                                                 • Construction Completion by
                   consolidated                                             December 31, 2037
                   control volumes
                   associated with
                   University and
                   Montlake planning
                   areas (DSN
                   015/014)

Montlake           Storage Facility      11 MG of peak CSO storage        • Submission of Engineering Report
                                                                            by December 31, 2029
(DSN 014)          or                    or                               • Completion of Bidding2 by
                                                                            December 31, 2032
                   Storage Facility to   24 MG of peak CSO storage
                   manage                                                 • Construction Completion by
                   consolidated                                             December 31, 2037
                   control volumes
                   associated with
                   University and
                   Montlake planning
                   areas (DSN
                   015/014)




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Footnote    Description

   1        All engineering reports submitted must comply with the requirements of WAC 173-240-060.

   2        “Completion of Bidding” for these CSO Control Projects shall be achieved when the County has accepted
            and awarded the bid for the first project component.

   3        The City and County shall submit concurrent modification requests for changes to critical milestones on
            projects that are intended to control both City and County outfalls.



              17.     Appendix D shall be revised as follows:

            APPENDIX D: Joint Operations and System Optimization Plan and Coordinated
                Optimization Evaluation Between the City of Seattle and King County

       A.     Paragraph 1’s references to the preparation of the Joint Operations and System
              Optimization Plan shall be in the past tense, such that the fourth through sixth sentences of
              Paragraph 1 shall read:

                      The County worked with the City of Seattle in jointly preparing a
                      Joint Operations and System Optimization Plan (“Joint Plan”) for
                      the City’s Wastewater Collection System and those interdependent
                      portions of King County’s regional wastewater conveyance and
                      treatment system that are hydraulically connected to the City’s
                      system. The result of this effort was development of a Joint Plan
                      that is consistent with both entities’ operational objectives, ensures
                      the optimal level of coordination and information sharing is
                      maintained, and optimizes system and joint operations between both
                      entities. The Joint Plan describes a procedure for operating their
                      existing systems and includes a process for incorporating the Joint
                      Plan into the design of new capital projects for the combined
                      systems.

       B.     A new Paragraph 2 shall be added as follows:

                      2.      The County and the City continue to work together to ensure
                      both systems are utilized to their full potential without adversely
                      affecting the other. Prior work includes installing real-time data
                      sharing between facilities, wet season preparedness meetings, gate
                      optimizations, and a live shared overflow tracking website. These
                      efforts are in part a result of the commitments made by each agency
                      in the Joint Plan.

       C.     The first sentence of what will now be Paragraph 3 shall read: The Joint Plan Updates shall
              continue to include, but not be limited to, the following items:



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D.     Item 3(k) is changed to reflect that updates to the Joint Plan must be made every five years
       instead of every three years.

E.     A new Paragraph 4 shall be added as follows:

               4.      The next update to the Joint Plan will be submitted to EPA
               and the State by March 1, 2027. The Update will include the results
               of the Coordinated Optimization Evaluation, which will be initiated
               in 2023, and any optimization actions implemented as of March 1,
               2027. The Coordinated Optimization Evaluation will include the
               following elements:

                       a.      Opportunities to strategically remove stormwater
                       and infiltration and inflow from the County’s and City’s
                       collection systems;

                       b.     Opportunities to optimize the use of available
                       capacity to maximize use of existing collection system
                       transport, storage, and treatment infrastructure for
                       wastewater flows, including wet weather flows;

                       c.      Opportunities for coordinated operation of the
                       County’s and City’s combined sewer systems including the
                       potential use of real-time controls that can react and/or
                       anticipate wet weather conditions and assessing controls for
                       greater capacity through operational changes and minor
                       system improvements; and

                       d.    Definition of planning parameters for future Long
                       Term Control Plan Updates and project engineering reports.

       18.     The effective date of this Modification shall be the date upon which this

Modification is entered by the Court or the motion to enter this Modification is granted, whichever

occurs first, as recorded on the Court’s docket.

       19.     This Modification shall be lodged with this Court for a period of at least thirty (30)

days for public notice and comment in accordance with 28 C.F.R. § 50.7. The United States

reserves the right to withdraw or withhold its consent if the comments regarding this Modification

disclose facts or considerations indicating that this Modification is inappropriate, improper, or

inadequate. The County consents to entry of this Modification as proposed without further notice



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and agrees not to withdraw from or oppose entry of this Modification by the Court or to challenge

any provision of this Modification, unless the United States or the State has notified the County in

writing that the United States or the State no longer supports entry of this Modification.

       20.     Each undersigned representative of the County, the State, and the Assistant

Attorney General for the Environment and Natural Resources Division of the United States

Department of Justice, on behalf of the United States, certifies that he or she is fully authorized to

enter into the terms and conditions of this Modification and to execute and legally bind the Party

he or she represents to this Modification.

       21.     This Modification to the Consent Decree constitutes the final, complete, and

exclusive agreement and understanding among the Parties with respect to this Modification to the

Consent Decree, and this Modification supersedes all prior agreements and understandings,

whether oral or written, concerning the Modification embodied herein.

       22.     This Modification may be executed in counterparts, and its validity shall not be

challenged on that basis.



Dated and entered this 22nd day of May, 2025.




                                                   ________________________________
                                                        JOHN C. COUGHENOUR
                                                SENIOR UNITED STATES DISTRICT JUDGE




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The undersigned hereby consents and certifies that he or she is authorized to consent to the
terms and conditions of this First Material Modification to the Consent Decree in the matter of
United States of America and the State of Washington v. King County, Washington, No. 2:13-
cv-677 (W.D. Wash.).

FOR PLAINTIFF UNITED STATES OF AMERICA:


       TODD KIM
       Assistant Attorney General
       United States Department of Justice
       Environment and Natural Resources Division


       /s/ Danica Anderson Glaser_____________            Date: November 14, 2024
       DANICA ANDERSON GLASER
       Senior Counsel
       United States Department of Justice
       Environment and Natural Resources Division
       Environmental Enforcement Section
       P.O. Box 7611
       Washington, DC 20044


       TESSA M. GORMAN
       United States Attorney
       Western District of Washington


By:    /s/ Brian C. Kipnis_____________                   Date: November 14, 2024
       BRIAN C. KIPNIS
       Assistant United States Attorney
       Office of the United States Attorney
       Western District of Washington
       700 Stewart Street, Suite 5220
       Seattle, WA 98101-1271




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The undersigned hereby consents and certifies that he or she is authorized to consent to the
terms and conditions of this First Material Modification to the Consent Decree in the matter of
United States of America and the State of Washington v. King County, Washington, No. 2:13-
cv-677 (W.D. Wash.).

FOR THE UNITED STATES ENVIRONMENTAL PROTECTION AGENCY:
                    Digitally signed by
       JOSEPH       JOSEPH THEIS

       THEIS        Date: 2024.06.19
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       $FWLQJDirector, Water Enforcement Division
       Office of Civil Enforcement
       Office of Enforcement and Compliance Assurance
       United States Environmental Protection Agency
       1200 Pennsylvania Avenue, N.W.
       Washington, DC 20460

                       Digitally signed by
       HANNAH          HANNAH ANDERSON

       ANDERSON Date:         2024.06.20
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       ______________________________                 Date:_______________
       HANNAH& ANDERSON
       Attorney, Water Enforcement Division
       Office of Civil Enforcement
       Office of Enforcement and Compliance Assurance
       United States Environmental Protection Agency
       1200 Pennsylvania Avenue, N.W.
       Washington, DC 20460




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The undersigned hereby consents and certifies that he or she is authorized to consent to the
terms and conditions of this First Material Modification to the Consent Decree in the matter of
United States of America and the State of Washington v. King County, Washington, No. 2:13-
cv-677 (W.D. Wash.).

FOR THE UNITED STATES ENVIRONMENTAL PROTECTION AGENCY, REGION 10:
                      Digitally signed by
       CASEY          CASEY SIXKILLER

       SIXKILLER      Date: 2024.11.05
       ______________________________
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       CASEY SIXKILLER
       Regional Administrator
       United States Environmental Protection Agency
       Region 10
       1200 Sixth Avenue, Suite 155
       Seattle, WA 98101
                      Digitally signed by
       EDWARD         EDWARD KOWALSKI

       KOWALSKI       Date: 2024.11.05
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       EDWARD J. KOWALSKI
       Director, Enforcement and Compliance Assurance Division
       United States Environmental Protection Agency
       Region 10
       1200 Sixth Avenue, Suite 155
       Seattle, WA 98101
                        Digitally signed by

        BEVERLY LI BEVERLY   LI
                   Date: 2024.11.05
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       BEVERLY F. LI
       Regional Counsel
       United States Environmental Protection Agency
       Region 10
       1200 Sixth Avenue, Suite 155
       Seattle, WA 98101
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       TED YACKULIC
       Assistant Regional Counsel
       United States Environmental Protection Agency
       Region 10
       1200 Sixth Avenue, Suite 155
       Seattle, WA 98101
      Case 2:13-cv-00677-JCC         Document 15       Filed 05/22/25     Page 17 of 18




The undersigned hereby consents and certifies that they are authorized to consent to the terms
and conditions of this First Material Modification to the Consent Decree in the matter of United
States of America and the State of Washington v. King County, Washington, No. 2:13-cv-677
(W.D. Wash.).

FOR THE STATE OF WASHINGTON:


       ROBERT W. FERGUSON
       Attorney General


By:    ______________________________                      Date:_November 5, 2024_
       ADAM L. LEVITAN, WSBA #59818
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       Olympia, WA 98504




       _                  _________________                Date:_November 5, 2024
       LAURA WATSON
       Director
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       P.O. Box 47600
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      Case 2:13-cv-00677-JCC         Document 15       Filed 05/22/25     Page 18 of 18




The undersigned hereby consents and certifies that he or she is authorized to consent to the
terms and conditions of this First Material Modification to the Consent Decree in the matter of
United States of America and the State of Washington v. King County, Washington, No, 2:1 3-
cv-677 (W.D. Wash.).


FOR KING COUNTY, WASHINGTON:



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        King County Executive
        King County Chinook Building
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        Seattle, WA 98104


        LEESA MANION
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By:                                                       Date:   8-13-2024
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